       Case 3:20-cv-08103-WHA Document 395-7 Filed 08/25/22 Page 1 of 5
                                   Melissa Bach
                                  June 09, 2022

· · · · · SUPERIOR COURT OF THE STATE OF CALIFORNIA

· · · · · · · · · · COUNTY OF SAN FRANCISCO

· · · · · · · · · · · · · ·--o0o--

·   · ·NEW PACIFIC HOTEL, INC., a· · Case No. CGC-20-586959
·   · ·California Corporation,
·
·   · · · · · · · · · Plaintiff,
·   · · · · · · ·vs.

·   · ·SONDER USA INC., a Delaware
·   · ·Corporation,
·
·   · · · · · · · · · Defendant.
·   · ·____________________________/

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· · · · · · · · · DEPOSITION OF MELISSA BACH

· · · · · · · · · · Thursday, June 9, 2022

· · · · · · · · · · · · 9:30 a.m. PDT

· · · · ·U.S. Legal Support - Remote Videoconference

· · · · · · · · · San Francisco, California

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· · ·STENOGRAPHICALLY REPORTED BY:

· · ·CARRIE HEWERDINE, RDR, CSR No. 4579

· · ·JOB #6164115


                  U.S. Legal Support | www.uslegalsupport.com             ·
     Case 3:20-cv-08103-WHA Document 395-7 Filed 08/25/22 Page 2 of 5
                                 Melissa Bach
                                June 09, 2022

·1· ·REMOTE APPEARANCES

·2

·3· · · · FOR PLAINTIFF:

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21

22· ·ALSO PRESENT REMOTELY:

23· ·RODERICK PRATT, Video Technician

24· ·KARI SENTENO, Interning Court Reporter

25


                U.S. Legal Support | www.uslegalsupport.com             2
     Case 3:20-cv-08103-WHA Document 395-7 Filed 08/25/22 Page 3 of 5
                                 Melissa Bach
                                June 09, 2022

·1· · THURSDAY, JUNE 9, 2022, SAN FRANCISCO, CALIFORNIA

·2· · · · · · · · · · · 9:30 A.M. PDT

·3· · · · · · · · · · · · ·*· *        *

·4

·5· · · · · · · · · · · MELISSA BACH,

·6· · · having been first duly sworn, was examined and

·7· · · · · · · · · testified as follows:

·8· · · · · · ·THE WITNESS:· I do.

·9· · · · · · ·THE REPORTER:· Thank you.

10· · · · · · ·Go ahead.

11

12· · · · · · · · · · · ·EXAMINATION

13· ·BY MS. RAYBURN:

14· · · · Q· · Good morning, Ms. Bach.

15· · · · A· · Good morning.

16· · · · Q· · Can you please stated and spell your name

17· ·for the record.

18· · · · A· · Sure.· It's Melissa Bach, M-E-L-I-S-S-A.

19· ·And the last name is Bach, B-A-C-H.

20· · · · Q· · And I'm Christy Rayburn.· I'm an attorney

21· ·for Sonder in this matter.· I assume you understand

22· ·that.

23· · · · A· · I assumed as much, yes.

24· · · · Q· · What's your current address?

25· · · · A· · Work address or location address?· What


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 1                   SUPERIOR COURT OF THE STATE OF CALIFORNIA

 2                            COUNTY OF SAN FRANCISCO

 3

 4      NEW PACIFIC HOTEL INC., a

 5      California corporation,

 6               Plaintiff,

 7      vs.                                         Case No. CGC-20-586949

 8      SONDER USA INC., a Delaware

 9      corporation, and DOES 1

10      through 10, inclusive,

11               Defendants.

12      ------------------------------/

13

14

15      VIDEOCONFERENCE DEPOSITION OF BRENNA MOORHEAD, ESQ.

16                       Friday, August 12, 2022

17

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19

20

21

22

23      Reported Remotely and Stenographically by:

24      JANIS JENNINGS, CSR No. 3942, CLR, CCRR

25      Job No. 5367305

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                              Veritext Legal Solutions
                                   866 299-5127
     Case 3:20-cv-08103-WHA Document 395-7 Filed 08/25/22 Page 5 of 5

 1                                                        1      REMOTE APPEARANCES:
 2                                                        2
 3                                                        3        For the Witness:
 4                                                        4           GOODWIN PROCTER LLP
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 7          DEPOSITION OF BRENNA MOORHEAD, ESQ., 7                    Redwood City, California 94063
 8   appearing remotely, located in San Francisco,        8           650.712.3500
 9   California, taken on behalf of the Plaintiff,        9           gfondo@goodwinlaw.com
10   beginning at 9:10 a.m., on Friday, August 12, 2022, 10
11   sworn remotely by Janis Jennings, Certified         11
12   Shorthand Reporter No. 3942, CCRR, located in the   12
13   City of Walnut Creek, County of Contra Costa, State 13
14   of California.                                      14
15                                                       15
16                                                       16
17                                                       17
18                                                       18
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22                                                       22
23                                                       23
24                                                       24
25                                                       25
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 1   REMOTE APPEARANCES:                                    1              INDEX
 2                                                          2
 3    For Plaintiff:                                        3   WITNESS                    PAGE
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21                                                         21               97    20
22                                                         22               98    4
23                                                         23               172   25
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